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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

THOMAS O’HARA, et al.,
    Plaintiffs,
                                                             Case No. 17-cv-13186
v.                                                           Hon. Denise Page Hood

EQUITYEXPERTS.ORG, LLC, et al.,
     Defendants.
__________________________________________________________________

                        STIPULATION OF DISMISSAL

      The parties, as evidenced by the signatures of their respective counsels below,

stipulate to the dismissal of Plaintiffs’ claims against Defendants, with prejudice and

without attorneys’ fees or costs to any party.


Dated: December 16, 2020                         Respectfully submitted,

/s/ Gary D. Nitzkin                              /s/ Katrine M. DeMarte (w/consent)
GARY D. NITZKIN (P41155)                         KATRINA M. DEMARTE (P81476)
CREDIT REPAIR LAWYERS                            DEMARTE LAW, PLLC
OF AMERICA                                       Attorney for Defendants
Attorneys for Plaintiffs                         39555 Orchard Hill Place
22142 West Nine Mile Road                        Suite 600/PMB 6338
Southfield, MI 48033                             Novi, MI 48375
(248) 353-2882                                   Telephone: (313) 509-7047
Fax (248) 353-4840                               Email: Katrina@demartelaw.com
gary@crlam.com
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THOMAS O’HARA, et al.,
    Plaintiffs,
                                                          Case No. 17-cv-13186
v.                                                        Hon. Denise Page Hood

EQUITYEXPERTS.ORG, LLC, et al.,
     Defendants.
__________________________________________________________________

                            ORDER OF DISMISSAL

      The Court, having reviewed the parties’ stipulation, and finding good cause

shown;

      IT IS HEREBY ORDERED that Plaintiffs’ claims against Defendants are

hereby dismissed with prejudice and without fees or costs to either party.


Dated: December 29, 2020                     s/Denise Page Hood _____________
                                             Hon. Denise Page Hood
                                             United States District Chief Judge
